         Case 1:21-cv-11036-LTS Document 157 Filed 02/28/23 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                             )
IMAD EL KHOURY,                              )
                                             )
       Plaintiff,                            )
                                             )
v.                                           )       Civil No. 21-11036-LTS
                                             )
MICHAEL GOULDING et al.,                     )
                                             )
       Defendants.                           )
                                             )

                          ORDER ON MAGISTRATE JUDGE
                    BOAL’S REPORTS AND RECOMMENDATIONS
                   (DOC. NOS. 153, 154), PLAINTIFF’S MOTIONS TO
              STRIKE (DOC. NOS. 123, 138), DEFENDANTS’ MOTION TO
     STRIKE (DOC. NO. 136), DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
      (DOC. NO. 120), PLAINTIFF’S CROSS-MOTION FOR SUMMARY JUDGMENT
       (DOC. NO. 124), AND PLAINTIFF’S MOTION FOR RECUSAL (DOC. NO. 155)

                                        February 28, 2023

SOROKIN, J.

        Pending before the Court are Magistrate Judge Boal’s Report and Recommendation

(Doc. No. 153) 1 on the parties’ separate Motions to Strike (Doc. Nos. 123, 138 for Plaintiff El

Khoury and Doc. No. 136 for the Weston Police Department defendants, who are officials

Michael Goulding, Efthimios Bousios, William Carlo, and Nicole Holmes) 2 and Judge Boal’s

Report and Recommendation (Doc. No. 154) on the parties’ Cross-Motions for Summary

Judgment (Doc. No. 124 for El Khoury and Doc. No. 120 for the Weston Police Department

defendants). El Khoury filed timely objections to both Reports and Recommendations in the



1
  Citations to “Doc. No. __” reference documents appearing on the court’s electronic docketing
system; pincites are to the page numbers in the ECF header.
2
  The only other defendant named in this case is Oxana Cummings, and she has not appeared in
the case.
         Case 1:21-cv-11036-LTS Document 157 Filed 02/28/23 Page 2 of 3




form of one consolidated objection (Doc. No. 156). Before turning to the Court’s de novo

resolution of the various motions with consideration of the Reports and Recommendations, the

Court first addresses El Khoury’s Motion for Recusal (Doc. No. 155).

       In his recusal motion, El Khoury requests that the undersigned recuse and contests the

impartiality of Magistrate Judge Boal. Id. El Khoury asserts that the bias and partiality of both

Magistrate Judge Boal and the undersigned have emboldened or exacerbated abusive litigation

tactics by the defendants. Id. Supporting the Motion for Recusal is a December 7, 2022 letter El

Khoury wrote to the Court raising many of these same issues. Doc. No. 149. The Court has

reflected on the issues raised and examined the serious charges made against the undersigned and

Magistrate Judge Boal, and the Court concludes nothing in the record supports bias, partiality, or

recusal. Two brief points warrant mention. First, the Court appropriately considered a

bifurcated adjudication at the outset of the case as a possible mechanism of efficient adjudication

and respect for principles of federalism. Second, Judge Boal’s resolution of a routine motion to

extend time in a matter of minutes reflects admirable efficiency and not, as El Khoury suggests,

see Doc. No. 149 at 3–4, unfair differential treatment of the parties’ motions. In ruling on the

Motion to Amend that El Khoury references, id. at 4, Judge Boal wisely took time to await an

opposition and to thoughtfully evaluate the substantive motion before issuing a five-page order,

Doc. No. 152. The differential treatment of the two motions arises from her sensible treatment

of different types of motions differently. Accordingly, the Motion for Recusal (Doc. No. 155) is

DENIED.

       Turning to the other pending motions, after de novo review of the entire record before the

Court on the pending motions, the Court (1) ADOPTS both Reports and Recommendations of

Magistrate Judge Boal (Doc. Nos. 153, 154); (2) ALLOWS El Khoury’s first Motion to Strike



                                                 2
         Case 1:21-cv-11036-LTS Document 157 Filed 02/28/23 Page 3 of 3




(Doc. No. 123); (3) DENIES El Khoury’s second Motion to Strike (Doc. No. 138); (4)

ALLOWS IN PART AND DENIES IN PART Defendants’ Motion to Strike (Doc. No. 136) as

explained in Magistrate Judge Boal’s Reports and Recommendations on the Motions to Strike

and Cross-Motions for Summary Judgment; (5) DENIES El Khoury’s Cross-Motion for

Summary Judgment (Doc. No. 124); and (6) ALLOWS Defendants’ Motion for Summary

Judgment (Doc. No. 120) for the reasons carefully and correctly explained in Magistrate Judge

Boal’s precise Report and Recommendation (Doc. No. 154). A final judgment will issue after

resolution of the outstanding claims against Defendant Cummings.




                                                   SO ORDERED.


                                                    /s/ Leo T. Sorokin
                                                   Leo T. Sorokin
                                                   United States District Judge




                                               3
